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BEFORE RAYMOND J. DEARIE
UNITED STATES DISTRICT JUDGE

                            DATE: AUGUST 30.2021
                           Time in Court:   30 Minutes

                  CRIMTNAT,CAUSE FOR IN PERSON PLEADING



DOCKET# CR ig-ng-ostRiDi


CASE: U.S.A.-v-   KEVIN NELSON(ON BOND)
                  COUNSEL: NOEM BIALE(CJA)

AUSA: VIRGINIA NGUYEN

COURTREPORTER: LINDA MARINO

X     CASE CALLED FOR PLEADING.

X     DEFENDANT SWORN.

X     DEFENDANT WITHDRAWS PREVIOUSLY ENTERED PLEA OF NOT
      GUILTY AND ENTERS A PLEA OF GUILTY TO COUNT SIX(6)OF THE SIX
      COUNT INDICTMENT.


X     COURT FINDS THAT THE PLEA WAS MADE KNOWINGLY &
      VOLUNTARILY. COURT FINDS FACTUAL BASIS FOR THE PLEA &
      ACCEPTS THE PLEA OF GUILTY TO COUNT SIX.

X     SENTENCE DATE: 12/9/2021 AT 10:00AM
      SENTENCE SUBMISSIONS DUE AS FOLLOWS:DEFENSE: 11/18/2021;
      GOVERNMENT 12/1/2021, WITH HARD COPIES TO CHAMBERS
      AND ASSIGNED PROBATION OFFICER.
